Case 1:19-cv-01186-LMB-IDD Document 44 Filed 10/20/20 Page 1 of 1 PageID# 727




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA

                                           Alexandria Division


BEN HAWKINS, on behalf of himself and                      )
    all others similarly situated,                         )
                                                           )
                  Plaintiff,                               )
                                                           )
     v.                                                    ) Civil Action No. 1:19cv1186 (LMB/IDD)
                                                           )
NAVY FEDERAL CREDIT UNION,                                 )
                                                           )
                  Defendant.                               )




                                                 JUDGMENT

          Pursuant to the order of this Court entered on October 20, 2020 and in accordance with Fed. R. Civ. P. 58,

JUDGMENT is hereby entered in favor of plaintiff Ben Hawkins, on behalf of himself and all others similarly

situated and against defendant Navy Federal Credit Union.




                                                  FERNANDO GALINDO, CLERK

                                                  By:_________/s/_______________
                                                       Y. Guyton, Deputy Clerk


Dated: 10/20/20
Alexandria, Virginia
